CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.194 Page 1 Of 17

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
IN THE SOUTHERN DIVISION

MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

 

Plaintiff,

V Case No. l7-cv-12860
Hon. Gershwin A. Drain

TROOPER MARK BESSNER and
TROOPER JOHN DOE,
Individually,

Defendants.
GEOFFREY N. FIEGER (P30441) MARK E. DONNELLY (P39281)
J'AMES J. HARRINGTON, IV (P65351) JOSEPH T. FROEHLICH (P71887)
GINA U. PUZZUOLI (P37992) JOHN F. FEDYNSKY (P65232)
DANIELLE L. DEZBOR (P79488) Assistant Attorneys General
Fieger, Fieger, Kenney & Harrington, P.C. Attomeys for SOM and MSP
Attomeys for Plaintiff Civil Litigation, Employment &
19390 West 10 Mile Road Elections Division
Southfleld, MI 48075 P.O. Box 30736
(248) 355-5555 Lansing, MI 48909

(517) 373-6434
MICHAEL M. MULLER (P38070)
Senior Assistant Corporation Counsel
City of Detroit Law Dept.
2 Woodward Ave., Ste 500
Detroit, MI 48226
(313) 237-5052

 

PETITION TO PERPETUATE TESTIMONY OF STATE POLICE LT.
NEIL DONOHUE

NOW COMES Petitioner and Plaintiff Monique Grimes, Personal

Representative of the Estate of Damon Grimes, Deceased, by and through her

{00431937.Docx)

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.195 Page 2 Of 17

attorneys Fieger, Fieger, Kenny and Harrington, P.C. and pursuant to the Federal
Rules of` Civil Procedure, Rule 27 (c) respectfully requests that this Honorable
Court grant her Petition to Perpetuate Testimony of State Police Lt. Neil Donohue
and in support hereof states as follows:

l. That Petitioner Monique Grimes, as Personal Representative of` the
Estate of Damon Grimes, Deceased, expects to be a party to a lawsuit against the
unidentified Michigan State Trooper who Was driving the car that Michigan State
Trooper Mark Bessner Was a passenger in when he shot the taser at the Decedent,
Damon Grimes.

2. That Petitioner is filing the petition in this court as the action she
expects to file against the unidentified Michigan State Trooper arises out of` the
same set of facts, circumstances and transaction as the case she presently has filed
against Defendant Trooper Mark Bessner.

3. That the subject matter of the expected action is that this unidentified
State Trooper violated the Decedent’s civil rights on the date of` the incident. Dkt.
2, Pg. ID. # 11-25 Amended Complaint.

4. That although Petitioner Monique Grimes, through counsel, has
repeatedly asked the Attomey General’s Office and the Michigan State Police to
provide the name of this State Trooper, by way of telephone calls, letter, FOIA

requests and subpoena, they have continued to stonewall Petitioner and have

{00431937.DOCX}

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.196 Page 3 Of 17

denied, refused and/or failed to provide Petitioner with any information,
whatsoever.

5. That due to the denials, refusals and failures to provide any
information to the family relating to the death of their son in conjunction with the
necessity of a preservation order in the case already filed, the reporting of
destruction of evidence and evading service, the risk of loss to evidence is
apparent

6. That Petitioner requests that this Honorable Court enter an Order to
Perpetuate the Testimony of Michigan State Police Lt. Neil Donohue for the
limited scope and purpose of identification of the Michigan State Trooper, who
was in the car With Trooper Mark Bessner at the time of the incident.

7. That Petitioner submits that there are legitimate and justifiable reasons

_ to perpetuate this testimony in order to prevent a complete failure and delay of
justice to the family of Damon Grimes, Who lost their 15 year old son and have
been unable to get any information and/or documentation relating to his death.

8. That although over 6 weeks has elapsed since the death of 15 year old
Damon Grimes, his family still cannot get any answers, let alone any information
at all, other than what they read in the newspapers and /or online.

9. The family cannot get any answers because the Michigan State

Police/State of Michigan and the City of Detroit have fought every attempt of the

{00431937.000(}

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.197 Page 4 Of 17

family to find out information regarding their son’s death. The Michigan State
Police/State of Michigan and the City of Detroit have blatantly refused to provide
any documents to Petitioner voluntarily, and upon a FOIA request made a demand
of payment of over $5,000.00 before they Would even process the request and also
represented that it would take an additional 90 days to provide documents to the
family that were not exempt, even though such documents must have already been
provided to the Prosecutor’s Office.

10. That the government is avoiding its fundamental obligation of
transparency by refusing to provide any information relating to this case, including
the name of the Michigan State Trooper who Was driving the car on the date of the
incident

ll. That the way in which this matter is being handled by the Michigan
State Police/State of Michigan and the City of Detroit is at the very least secretive
and suspicious , considering that in other cases they are involved in they
immediately release at least portions of dash cam video to the public. Therefore,
Petitioner has very real and substantiated concerns that if the Michigan State
Police/State of Michigan are allowed to continue to withhold all information
relating to this case, she will not be able to seek justice for her son.

12. That this Honorable Court astuter noted at the last hearing in this

case that this is a very serious excessive force case.

{00431937.DOCX}

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.198 Page 5 Of 17

13. That the information relating to the unidentified State Trooper is
relevant and not duplicative

14. Petitioner expects that the unidentified Trooper will be an adverse
party to a lawsuit brought by the Estate of Damon Grimes,

15. The name, address and expected substance of the testimony of the
deponent is Lt. Neil Donohue from the Michigan State Police, Detroit Post, and
will be limited in scope and purpose to the name of the Michigan State Trooper
who was driving the car at the time Trooper Mark Bessner tased Damon Grimes.

16. That concurrence was sought for the relief requested in this petition
via email, telephone, subpoena and FOIA, but not acquiesced in.

l7. That Petitioner relies on the F ederal Rules of Civil Procedure, Rule 27
in support of her motion and this Honorable Court’s discretion See also In re Bay
Counly Mddlegrounds Landfz`l/ Site, 171 F.3d 1044 (1999).

WHEREFORE, Petitioner, Monique Grimes, Personal Representative of the
Estate of Damon Grimes respectfully requests that this Honorable Court exercise
its discretion to grant her Petition to Perpetuate Testimony of Michigan State

Police Trooper Lt. Neil Donohue.

{00431937.DOCX}

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.199 Pege 6 Of 17

Dated: October 18, 2017

Respectfi.illy submitted,

/s/ Gz`na U. Puzzuoli

GEOFFREY N. FIEGER (P3 0441)
JAMES J. HARRINGTON, IV (P65351)
GINA U. PUZZUOLI (P37992)
DANIELLE L. DEZBOR (P79488)
Fieger, Fieger, Kenney & Harrington, P.C.
Attomeys for Plaintiff

19390 West Ten Mile Road

Southfield, MI 4807 5

(248) 355-5555

CERTIFICATE OF SERVICE

I hereby certify that on October 18, 2017, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system which will send
notification of such filing to all participating attorneys.

{00431937.Docx}

/s/ Karen M. Fiema
Karen M. Fiema

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.ZOO Page 7 Of 17

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
IN THE SOUTHERN DIVISION

MONIQUE GRIl\/[ES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

 

Plaintiff,

v Case No. l7-cv-12860
Hon. Gershwin A. Drain

TROOPER MARK BESSNER and
TROOPER JOHN DOE,
Individually,

Defendants.
GEOFFREY N. FIEGER (P3 0441) MARK E. DONNELLY (P3928l)
JAMES J. HARRINGTON, IV (P65351) JOSEPH T. FROEHLICH (P71887)
GINA U. PUZZUOLI (P37992) JOHN F. FEDYNSKY (P65232)
DANIELLE L. DEZBOR (P79488) Assistant Attorneys General
Fieger, Fieger, Kenney & Harrington, P.C. Attomeys for SOM and MSP
Attomeys for Plaintiff Civil Litigation, Employment &
19390 West 10 Mile Road Elections Division
Southfield, MI 48075 P.O. Box 30736
(248) 355-5555 Lansing, MI 48909

(517) 373-6434
MICHAEL M. MULLER (P38070)
Senior Assistant Corporation Counsel
City of Detroit Law Dept.
2 Woodward Ave., Ste 500
Detroit, MI 48226
(313) 237-5052

 

PLAINTIFF’S BRIEF IN SUPPORT OF VERIFIED PETITION TO
PERPETUATE TESTIMONY OF STATE POLICE LT. NEIL DONOHUE

{00434617.DOCX}

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.ZOl Pege 8 Of 17

 

TABLE OF CONTENTS
STATEMENT OF ISSUES PRESENTED ii
INDEX OF AUTHORITIES iii
I. STATEMENT OF FACTS 2
II. STATEMENT OF LAW AND ARGUMENT 3

III. CONCLUSION 6

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.ZOZ Pege 9 Of 17

ISSUES PRESENTED

WHETI-[ER PLAINTIFF’S PETITION TO PERPETUATE
TESTIMONY OF LT. NEIL DONOHUE SHOULD BE GRANTED?

ii

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.ZOS Pege 10 Of 17

INDEX OF AUTHORITIES
Federal Authorities
In re Bay Counly Mia'dlegrounds Landjill Site, ] 7] F. 3d1 044 (]999) 6
Other Authorities

Federal Rules of Civil Procedure 3

iii

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.204 Page 11 Of 17

Petitioner, Monique Grimes, as Personal Representative of the Estate of
Damon Grimes, files her petition under Fed. R. Civ. P. 27 to “perpetuate the
testimony” of Michigan State Police Lt. Neil Donohue. This petition is necessary
so that Ms. Grimes can depose Lt. Donohue to ascertain the name of the Michigan
State Police trooper, currently a “John Doe,” Who Was driving the police vehicle at
the time that Damon Grimes Was tased and killed. Despite numerous requests by
Plaintiff’s counsel, the State of Michigan has refused to divulge the identity of the
driver, even though doing so would not hinder the investigation into Damon’s
death, Petitioner Grimes intends to pursue a civil rights action against the driver of
the vehicle, and needs to know his identity in order to secure the Estate’s rights.
Given that the State is stonewalling Ms. Grimes, this petition to perpetuate
testimony is necessary. Petitioner is filing this petition with this Court because any
cause of action against the driver arises out of the same facts and circumstances
that give rise to the action against Trooper Bessner, which is currently pending
before this Court.

I. STATEMENT OF FACTS:

On August 26, 2017, at around 5:30 p.m., DAMON GR.IMES, who was 15
years old, was operating an all-terrain vehicle east on Rossini, near Gratiot avenue,

in the City of Detroit, State of Michigan. Defendant, TROOPER MARK

{00434617.00€)<} 2

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.ZOB Pege 12 Of 17

BESSNER and another Trooper, name presently unknown, began to pursue
DAMON GRIMES and did so in a manner in direct violation of the laws of the
State of Michigan and the policies and procedures of the Michigan State Police,
Defendant, TROOPER MARK BESSNER, deployed his Taser directly at
DAMON GR_IMES through the open window of Defendant’s moving patrol
vehicle in violation of the United States Constitution and the Michigan State Police
policy and/or procedure. TROOPER JOHN DOE was fully aware of TROOPER
MARK BESSNER’S unconstitutional actions.

The electrical force of the Taser caused DAMON GRIMES to lose control
of the ATV and propelled him into the rear end of another motor vehicle.
DAMON GRIMES died.

The Michigan State Police and the City of Detroit Police Department
immediately began an investigation at the scene where it has been reported that the
cover up and destruction of evidence began. Moreover, the police have failed to
provide and are withholding requested documents and evidence in this case that
Plaintiff should be provided without undue and burdensome expense and delay.

Plaintiff has attempted to find out information as simple as the name of the
State Trooper who was in the vehicle With Defendant Bessner through telephone
calls and letters to the Attomey General’s Office, but has been stonewalled at

every turn. The Attomey General’s Office has ignored the telephone calls and

{00434617.Docx} 3

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.ZOG Pege 13 Of 17

letter, and has failed to respond to the request of that information from Plaintiff’s
counsel via such calls, letter, FOIA requests and subpoena
II. STATEMENTMW AND ARGUMENT

Petitioner Grimes files her petition under the Federal Rules of Civil
Procedure, Rule 27. Rule 27 provides in part that a petition may be filed by a
person who wishes “to perpetuate testimony about any matter cognizable in a
United States Court...in the district court, for the district where the adverse party
resides...” Additionally, the rule provides that the petitioner must show the
following:

(A) that the petitioner expects to be a party to an action cognizable
in a United States court but cannot presently bring it or cause it
to be brought;

(B) the subject matter of the expected action and the petitioner’s
interest;

(C) the facts that the petitioner wants to establish by the proposed
testimony and the reasons to perpetuate it;

(D) the names or a description of the persons whom the petitioner
expects to be adverse parties and their addresses, so far as

known; and

{00434617.Docx} 4

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.207 Pege 14 Of 17

(E) the name, address, and expected substance of the testimony of
each deponent.

Here, Petitioner meets all of the above requirements

Petitioner Monique Grimes, as Personal Representative of the Estate of
Damon Grimes, expects to be a plaintiff (a party) to a civil rights lawsuit against
the unidentified Michigan State Trooper who was driving the car that Michigan
State Trooper Mark Bessner was a passenger in when he shot his taser at Damon
Grimes. 'I`his cause of action is cognizable in the United States court but cannot
presently be brought due to the continued stonewalling by State of Michigan and
interested parties.

Ms. Grimes has filed her petition in this court because the lawsuit she
expects to file against the unidentified Michigan State Trooper arises out of the
same set of facts, circumstances and transaction as the case she presently has filed
against Defendant Trooper Mark Bessner. Although Petitioner Monique Grimes,
through counsel, has repeatedly asked the Attomey General’s Office and the
Michigan State Police to provide the name of this State Trooper, by way of
telephone calls, letter, FOIA requests and subpoena, all requests have been

ignored.

{00434617.1)0€)<} 5

CeSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Pege|D.208 Page 15 Of 17

As noted, the subject matter of the action is a violation of Damon Grimes’
civil rights. Ms. Grimes is interested, of course, as she is the Personal
Representative of the Estate of Damon Grimes,

Ms. Grimes needs permission to depose and perpetuate the testimony of Lt.
Donahue in order to learn the name of the “John Doe” Trooper. The reasons a
petition to perpetuate such testimony is necessary is because the State has Wrongly
refused to provide the State Trooper’s identity to Damon Grimes’ family and they
are unable to obtain this information from any other source. Additionally, there is
no justifiable basis not to provide the identity, and the government’s actions have
hindered and delayed Petitioner’s right to find justice for her son and family.

The names and addresses of the adverse parties are the Attomey General’s
Office (3030 W. Grand Blvd., #10200, Detroit, MI 48202), the Michigan State
Police (333 S. Grand Avenue, P.O. Box 30634, Lansing, MI 48909), and the City
of Detroit (City of Detroit Law Department, 2 Woodward Avenue, Suite 400,
Detroit, MI 48226).

The name and address of the deponent is Lt. Neil Donohue of the Michigan
State Police, Detroit post (upon information and belief, 1301 'Ihird Street, Detroit,
MI 48226). The questioning will be limited to the name of the State Trooper noted

above to be in the car with Defendant Bessner.

{00434617.Docx} 6

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.ZOQ Pege 16 Of 17

Ms. Grimes submits that the information requested by this petition is
relevant and not duplicative. Moreover, the information should be a made public
record as there is no reason to allow the government to hide such information, The
name of the State Trooper has nothing to do with whether or not a criminal
investigation is underway and the refusal to provide such information is
tantamount to offensive governmental intrusion. Accordingly, pursuant to Fed. R.
Civ. P. 27, this Honorable Court should exercise its discretion and now grant this
petition. See also In re Bay Counly Middlegrounds Landjz`ll Site, 171 F.3d 1044
(1999 6th Cir)(affirming a district court’s decision to grant a petition to perpetuate
testimony in anticipation of a lawsuit under Rule 27).

111.' CONCLUSION

Based on the foregoing, Plaintiff respectfully requests that this Honorable
Court grant her Petition to Perpetuate Testimony of Lt. Neil Donohue and award
costs and attorney fees so wrongfully incurred in this matter.

WHEREFORE, Petitioner, Monique Grimes, Personal Representative of the
Estate of Damon Grimes respectfully requests that this Honorable Court exercise
its discretion and grant her Petition to Perpetuate Testimony of Michigan State

Police Trooper Lt. Neil Donohue.

{00434617.Docx} 7

CaSe 2217-CV-12860-GAD-EAS ECF NO. 18 filed 10/18/17 Page|D.ZlO Pege 17 Of 17

Dated: October 17, 2017

Respectfully submitted,

/s/ Gina U. Puzzuoli

GEOFFREY N. FIEGER (P3 0441)
JAMES J. HARRINGTON, IV (P65351)
GINA U. PUZZUOLI (P37992)
DANIELLE L. DEZBOR (P79488)
Fieger, Fieger, Kenney & Harrington, P.C.
Attorneys for Plaintiff

19390 West Ten Mile Road

Southfield, MI 48075

(248) 355-5555

CERTIFICATE OF SERVICE

l hereby certify that on October 17, 2017, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system Which will send
notification of such filing to all participating attorneys.

{00434617.DOCX}

/s/ Dam'elle L. Dezbor
Danielle L. Dezbor

